            Case 1:22-cv-00597-CCR Document 22 Filed 10/24/23 Page 1 of 1

Judgment in a Civil Case


                             United States District Court
                         WESTERN DISTRICT OF NEW YORK



NICOLE M. FRYE
Administrator of the Estate of James M. Huber           DEFAULT JUDGMENT IN A
                                                        CIVIL CASE
                                                        CASE NUMBER: 22-CV-597
       v.

ANTHONY NIGRO


☐ Jury Verdict. This action came before the Court for a trial by jury. The issues have
been tried and the jury has rendered its verdict.

☒ Decision by Court. This action came to trial or hearing before the Court. The
issues have been tried or heard and a decision has been rendered.

IT IS ORDERED AND ADJUDGED: that Plaintiff’s Second Motion for Default Judgment
is Granted against Defendant for failure to make initial disclosures or answer Plaintiff’s
discovery requests, or otherwise defend, in violation of a Court Order pursuant to
Federal Rule of Civil Procedure 55(b).




Date: October 24, 2023                                  MARY C. LOEWENGUTH
                                                        CLERK OF COURT

                                                        By: s/ Jennifer V.
                                                            Deputy Clerk
